            Case 2:20-cv-01029-DSC Document 33 Filed 04/27/22 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    Janine Wood, Individually and as Parent and
    Natural Guardian of Her Minor Child, H.W.,
    et al.,

                  Plaintiffs,                        Case No. 2:20-cv-01029-DSC

                  vs.

    Palace Entertainment, d/b/a Kennywood
    Park, et al.,

                  Defendant.


                   DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

          Defendant Festival Fun Parks, LLC d/b/a Palace Entertainment (“Palace”)1 hereby moves

the Court for summary judgment on the grounds that the material facts are undisputed and Palace

is entitled to summary judgment as a matter of law. See Fed. R. Civ. P. 56(a).

          This motion is based on this motion, the accompanying brief in support, concise

statement of material facts, supporting appendix, and the proposed order.

          WHEREFORE, Palace respectfully requests that the Court grant this motion.




1
  The defendant identified in plaintiffs’ complaint, “Palace Entertainment d/b/a Kennywood
Park, Sandcastle Waterpark, and Idlewild and Soakzone,” is not a legal entity. The owner and
operator of Kennywood Park, Sandcastle Waterpark, and Idlewild & SoakZone is Festival Fun
Parks, LLC d/b/a Palace Entertainment.
        Case 2:20-cv-01029-DSC Document 33 Filed 04/27/22 Page 2 of 3




Date: April 27, 2022                      Respectfully submitted,

                                          McDermott Will & Emery LLP

                                          /s/ Kerry Alan Scanlon
                                          Kerry Alan Scanlon (admitted pro hac vice)
                                          Jeremy M. White (admitted pro hac vice)
                                          Paul Michael Thompson (PA Bar #82017)
                                          500 North Capitol Street, NW
                                          Washington, DC 20001
                                          Tel: (202) 756-8000
                                          kscanlon@mwe.com
                                          jmwhite@mwe.com
                                          pthompson@mwe.com

                                          Attorneys for Defendant




                                      2
         Case 2:20-cv-01029-DSC Document 33 Filed 04/27/22 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on April 27, 2022, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send notification of such filing to all Counsel

of Record.


                                                    /s/ Kerry Alan Scanlon
                                                    Kerry Alan Scanlon
